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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-680V
                                     Filed: March 28, 2017
                                         UNPUBLISHED
*********************************
MARLYNE TANNEN,                                   *
                                                  *
                         Petitioner,              *
v.                                                *
                                                  *       Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *       Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Amy Paula Kokot, U.S. Department of Justice, Washington, DC, for respondent.


                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

       On June 30, 2015, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleged that she suffered a shoulder injury and/or adhesive capsulitis
as a result of her October 4, 2012 influenza (“flu”) vaccination. On December 8, 2016,
the undersigned issued a decision awarding compensation to petitioner based on the
parties’ Stipulation. (ECF No. 41).

      On February 7, 2017, petitioner filed an application for attorneys’ fees and costs.
(ECF No. 47). Petitioner requests attorneys’ fees in the amount of $17,858.00 and

1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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attorneys’ costs in the amount of $922.02 for a total amount of $18,780.02.3 Id. at ¶¶ 1-
3, p. 9 (Ex. A). In accordance with General Order #9, petitioner’s counsel represents
that petitioner incurred no out-of-pocket expenses.

        On February 13, 2017, respondent filed a response to petitioner’s application.
(ECF No. 48). Respondent argues that “[n]either the Vaccine Act nor Vaccine Rule 13
contemplates any role for respondent in the resolution of a request by a petitioner for an
award of attorneys’ fees and costs.” Id. at 1. Respondent adds, however, that she “is
satisfied the statutory requirements for an award of attorneys’ fees and costs are met in
this case.” Id. at 2. Respondent “respectfully recommends that the Chief Special
Master exercise her discretion and determine a reasonable award for attorneys’ fees
and costs.” Id. at 3.

      The undersigned has reviewed the billing records submitted with petitioner’s
request. In the undersigned’s experience, the request appears reasonable, and the
undersigned finds no cause to reduce the requested hours or rates.

      The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request, the undersigned
GRANTS petitioner’s application for attorneys’ fees and costs.

      Accordingly, the undersigned awards the total of $18,780.024 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel,
Maximillian J. Muller.

        The clerk of the court shall enter judgment in accordance herewith.5

IT IS SO ORDERED.

                                                          s/Nora Beth Dorsey
                                                          Nora Beth Dorsey
                                                          Chief Special Master

3
  The undersigned notes that petitioner’s Application contains a typographical error and incorrectly
indicates in summary that petitioner requests $1,812.50 in expenses for a total award of $19,670.50.
(ECF No. 47 at ¶ 4). It is clear however from petitioner’s Application that her attorneys’ expenses total
$922.02. (ECF No. 47 at ¶ 3, pp. 11-17 (Ex. B)). Accordingly, the total amount requested is $18,780.02.
(ECF No. 47 at ¶¶ 1-3).
4
 This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).
5
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.
                                                     2
